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Lynn Espejo
9309 Millers Pointe Court
Sherwood, AR 72120
501-772-6321

July 21, 2021

Jeffrey Alker Meyer

United States District Judge for the District of Connecticut
RICHARD C. LEE UNITED STATES COURTHOUSE
141 Church Street

New Haven, Connecticut 06510

RE: Tony Pham and Samuel Copenhaver
Dear Honorable Judge Meyer,

I am a victim of Tony Pham and Samuel Copenhaver. I went to federal prison in February 2018, after being
found guilty at a jury trial. I am a first time non-violent white collar offender.

When I was preparing for my self-surrender to prison, I ran across RDAP Law Consultants. I was scared and
my family was scared. RDAP Law Consultants (Mr. Ahn Nguyen) told me they could help me prepare for
federal prison, so my family paid them to help guide me through the process.

Shortly after I hired RDAP Law Consultants, Anh Nguyen a/k/a Tony Pham, begin putting pressure on me to
try to force me to do things I felt were unethical and possibly fraudulent. Please see attached emails sent to me
in December 2017 from Mr. Nguyen. Those emails instructed me to get medicine I knew I did not need. Mr.
Nguyen wanted me and my husband lie to doctors in order to get the medicine. And he also encouraged me to
report to prison intoxicated. None of which I was willing to do.

When I hired RDAP Law Consultants, I made it clear to Mr. Nguyen, that I was going to prison for a crime I
knew I had not committed. I only wanted advice on how to handle being incarcerated. I was not interested in
the RDAP program because I knew I did not have substance abuse issues. At the time, I was 2 classes away
from graduating with my master’s degree in counseling and understood substance abuse very well from
working with patients during my internships. I do not use drugs and rarely drink.

Mr. Nguyen immediately began forcefully encouraging me to lie to Bureau of Prison staff to get into the RDAP
program because he said I could get eighteen months off my sentence. He also tried to get me to allow him to
get me designated to another prison, where he claimed he had a connection to get accepted to the RDAP
program. I repeatedly told him I did not qualify for such a program

When my husband and I refused to follow his instructions, Mr. Nguyen began to bully and belittle me, as well
as yell at me on the phone. When I told Mr. Nguyen that I would report him to authorities if he did not leave me
alone, he harassed me, threatened me, and called me horrible names.

My husband was very traumatized as well by all of this, specifically with Mr. Nguyen telling my husband he
needed to lie to professionals or I was going to be in prison much, much longer. We did not understand the
system. Nobody we know has ever been to prison. We were going through the worst time in our life and had
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hired RDAP Law Consultants to guide us through the process. All RDAP Law Consultants did was make a bad
situation much, much worse for me and my family.

We prayed about it, and spoke to our pastor regarding what we were being told to do by Mr. Nguyen. We knew
it was wrong and just could not participate, even if I did have to spend longer in federal prison. That was when
I started investigating Mr. Nguyen and came to realize his real name was Tony Pham.

I called the therapist that worked for RDAP Law Consultants, and tipped him off as to what Mr. Nguyen was
doing. This really angered Mr. Nguyen. I contacted law enforcement and the US Attorney’s office in Michigan
where I was under the impression RDAP Law Consultants was located. I also contacted the US Attorney’s
office where Mr. Pham’s previous case was prosecuted. I went on another prison consultant’s podcast and
exposed what Mr. Nguyen was doing, and alerted others to his real name, Tony Pham. I did everything in my
power to warn others not to use the company’s services. Mr. Nguyen continued to harass me and even threaten
to sue me for exposing him.

All of this just a few weeks before I was to report to federal prison myself. All very traumatizing. What Mr.
Nguyen a/k/a Tony Pham did to me at the time caused me and my family to have extra anxiety and fear at a
time when we paid him money to guide us into the unknown.

I ask that you consider how Tony Pham preyed on my family and me, as well as many others, when you
sentence both he and Mr. Copenhaver. While I believe Mr. Copenhaver did have some compassion and
empathy for me, Tony Pham had none. What I saw at the time was someone who was evil and didn’t care how
many people he hurt. Mr. Pham only cared about deception and the all mighty dollar. Mr. Copenhaver, I
believe was directed by Tony Pham, and is less responsible for what happened to me and my family.

I recently graduated with my MS in Clinical & Mental Health Counseling and hope to work with women who
have experienced trauma. I am also an advocate for prison reform and truly believe that first time non-violent
offenders should be punished in a community setting after my own experience with the federal prison system.
However, because I believe Tony Pham is responsible for causing trauma to many people, preyed on others at
their worst time, and is a danger to society—I hope that you will give him the maximum punishment available
under the law.

Thank you for taking the time to read this letter.
Sincerely,

Lynn Espejo
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Go to the doctor lynnespejo@sbcg.../io keep

Anh Nguyen <anguyen@rdaplawconsultants.com> Dec 20, 2017 at 3:16 PM
To: ** Lynn Alisa Espejo (1/8/18 FPC Bryan) (lynnespejo@sbcglobal.net) <lynnespejo@sbcglobal.net>

Lynn, Can you get to the doctor/nurse practioner with the following? It would make it easier to get in if you have a prescription for alcohol withdrawal.
You can get this at an urgent care clinic too, Take a family member with you to the clinic so they can vouch that you have a drinking problem too.

Please go to your doctor and tell him the following:
1) You have been drinking everyday for a very long time and are an alcoholic

2) You will be going to prison and are scared that they are going to make you stop drinking cold-turkey, Your attorney told you that you need to walk in there with
some prescriptions or the prison will ignore your medical needs since it is so crowded in there. Tell the doc you don't want to suffer.

3) Ask the doctor to please give you a prescription for "Librium" or "Ativan" or "Naltrexone" OR ANYTHING else he feels appropriate to help with the
withdrawal.

Now, Also ask for "Thiamine", which is a vitamin, so you can take while there to help prevent brain damage. Thiamine is the one that is very important to get.
They will not allow non-prescription pills into prison so buying it over the counter is useless (ie. it has to be a prescription).

Many times, doctors will be very reluctant to prescribe you anything for fear that you may be a drug addict trying to score some recreational drugs or the fact that
you may die even if you are prescribed something due to the seizures. To overcome this, bring a family member with you to do the talking to assure the doctor.

Let me know when you get this. Please fill it immediately.
You will be carrying and walking into prison with the bottle of pills...remember to bring them.

You are not suppose to consume any of these just yet so no need to take them.

Respectfully,

Anh Nguyen

Managing Partner

Direct: 216-539-4830

Fax: 216-502-2242

Toll Free: 866-543-0250 x400
anguyen@RDAPLawConsultants.com
http //www.RDAPLawConsultants.com

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6 things to say at the interview lynnespejo@sbcg.../to keep

Anh Nguyen <anguyen@rdaplawconsultanis.com> Dec 20, 2017 at 3:14 PM
Yo: * Lynn Alisa Espejo (1/8/18 FPC Bryan) (lynnespejo@sbeglobal.net) <lynnespejo@sbeglobal.net>

Lynn below are the 6 things you want to be able to say. After you are able to talk about your problem, I will be scheduling an interview with a counselor.
These are the 6 things the substance abuse counselor and rdap doctor wants you to say for sure. Never go against these six things while in the interview.
They will ask you stories about your life and drinks and pills, what you took, when, and why so be ready to tell your life story with the substances. Here
they are:
1) Frequent user (daily) - Story of your daily use
2) Life revolves around alcohol/pills - examples of stories here - such as inventory stocking up and daily personal and business activities
3) Increased tolerance - stories you use more and more over the years to get the same effect
4) Failure to quit - tried many times but unsuccessful - too hard
5) Have withdrawal symptoms - can't sleep unless used alcohol/pills, stressed out and agitated until using
6) Abuse in a) personal, b) business, c) criminal
a) personal - family mad that you use all the time, waste so much money, driving under influence

b) business - got to work late, left early to get to go use .
c) criminal - alcohol/pills contributed to me committing my crime since it clouded my judgment and I thought I can get away with it (liquid courage)
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